Case 5:20-cv-01794-MAR Document 23 Filed 09/23/21 Page 1 of 1 Page ID #:1061



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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11       SHARON R.H., 1                               Case No. 5:20-cv-1794-MAR
12                          Plaintiff,                JUDGMENT
13             v.
14       KILOLO KIJAKAZI,
15       Commissioner of Social Security,

16                          Defendant.

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              Pursuant to sentence four of 42 U.S.C. § 405(g), IT IS ADJUDGED that the
     decision of the Commissioner of the Social Security Administration is AFFIRMED.
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     DATED: September 23, 2021
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23                                           MARGO A
                                                   A. ROCCONI
                                             UNITED STATES MAGISTRATE JUDGE
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27   1
      Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and the
     recommendation of the Committee on Court Administration and Case Management of the Judicial
28   Conference of the United States.
